IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

NELSON SHANKS : CIVIL ACTION
Plaintiff,
Vv.
LESLIE and ABIGAIL WEXNER, et al. :
Defendants. NO. 02-7671

ORDER

AND NOW, this day of , 2002, upon
consideration of the Motion of Defendants for Dismissal Pursuant to Fed. R. Civ, I’. 12(b)(2),
and Plaintiffs opposition thereto, it is hereby ORDERED that the Motion is GRANTED and that

all of Plaintiffs claims against Defendants are hereby dismissed with prejudice for lack of

personal jurisdiction.

 

US.D.J.
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FOR THE EASTERN DISTRICT OF PENNSYLVANIA a
NELSON SHANKS CIVIL ACTION
Plaintiff, _
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LESLIE and ABIGAIL WEXNER, et al.
Defendants. , NO. 02-7671

MOTION OF DEFENDANTS
FOR DISMISSAL PURSUANT TO FED. R. CIV. P. 12(b)(2)

Defendants, by and through their undersigned counsel, pursuant to }tule 12(b)(2),
hereby move for an Order dismissing all of Plaintiff's claims against Defendants for lack of
personal jurisdiction. In further support thereof, Defendants incorporate herein by reference the

accompanying Memorandum of Law.
WHEREFORE, Defendants respectfully pray that this Court grant their Motion
and dismiss the action for lack of personal jurisdiction and that the Court grant such other and

further relief as it deems to be necessary and appropriate.

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Dated: December 30, 2002 Chuatoybec. CP AM? tecLir

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FOR THE EASTERN DISTRICT OF PENNSYLVANIA JAN XS vos
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Plaintiff, RED HEE x6 wD
v. :;

LESLIE and ABIGAIL WEXNER, et al.
Defendants. ; NO. 02-7671

MEMORANDUM OF LAW IN SUPPORT OF THE
MOTION OF DEFENDANTS FOR
DISMISSAL PURSUANT TO FED. R. CIV. P. 12(b)(2)

Defendants, by and through their undersigned counsel, respectfully submit this
Memorandum of Law in support of their Motion for dismissal pursuant to Rule 12°b)(2) of the
Federal Rules of Civil Procedure.

INTRODUCTION

Plaintiff Nelson Shanks, a renown portrait artist with a self-proclaimed method of
becoming well acquainted with his subjects by painting them during live sittings, vas to paint a
personal family portrait of Defendant Abigail Wexner (“Mrs. Wexner”) and her fcur small
children in their home in New Albany, Ohio. As Plaintiff was at all times aware, this was to be a
gift by Defendant Jeffrey Epstein (“Mr. Epstein”) to his clients and close personal friends, Mrs.
Wexner and Defendant Leslie Wexner (“Mr. Wexner”). Despite the substantial $525,000 fee he
claims for his work product, Plaintiff chose in this case to abandon his proven metliods. Instead,

he apparently chose to indulge his idiosyncratic artistic goals, and, in so doing, created an

inherently impersonal, inaccurate and disturbing painting of five living subjects only from still
photographs — which he selected without input from any of the Defendants — and lifeless
mannequins.

Plaintiff now seeks to profit from the inevitable and unfortunate consequences of
his self-indulgence and the breach of his own widely proclaimed standards for producing a
portrait. What is equally indefensible is that he seeks to do so by commencing sui: against two
U.S. Virgin Island residents and two Ohio residents in a jurisdiction with which each of the
Defendants lacks even minimal contacts. Like Plaintiffs claims in this action, his choice of the
Commonwealth of Pennsylvania as the forum in which to litigate his claims shoul: be rejected
by this Court.

BACKGROUND

On more than one occasion, Defendant Ghislaine Maxwell, advisec| Plaintiff that
Mr. Epstein wished to present Mr. Wexner and Mrs. Wexner with a gift of a portrait painted by
Plaintiff of Mrs. Wexner and her four small children, Harry, Hannah, David, and Sarah. !
Plaintiff pursued this project by making numerous telephone calls to Ms. Maxwel. in New York
City and Mrs. Wexner in New Albany, Ohio, complying with Ms. Maxwell’s requirement that
Plaintiff meet with Mrs. Wexner in New York City, and photographing Mrs. Wexner and her
children while he stayed as a guest at the Wexner home in Ohio over a two day peviod. Plaintiff
ultimately determined that he would paint the family portrait in the setting of their home in Ohio.

At Plaintiff's request, first made by Plaintiff, personally, while at the Wexner homie in Ohio and

 

' One of the more unfortunate aspects of this case is Plaintiff’s bringing suit against Mr. and
Mrs. Wexner when he knew that Mr. Epstein was and will remain fully responsibie for this gift if
Plaintiff, in fact, is entitled to any payment for the flawed portrait. This point is not an
appropriate subject for a preliminary motion but will be the subject of a challenge at a later date
unless Plaintiff promptly voluntarily drops the donees of the planned gift from thi: litigation.
Naming the Wexners in this litigation unfortunately evokes the old adage that “no good deed
goes unpunished.”
then reiterated in a May 3, 2000 letter which he sent to Mrs. Wexner in Ohio, measurements of
Mrs. Wexner and her four children were taken in Ohio and faxed to Plaintiff. Although Plaintiff
seeks to collect a substantial fee of $325,000 for this portraiture, in the end, Plainti:'f’s painting is
based on nothing more than the still photographs shot, and mannequins prepared from
measurements taken, in Ohio.

Mr. Epstein and Ms. Maxwell are U.S. Virgin islands residents and Mr. Wexner
and Mrs. Wexner are Ohio residents, all of whom have homes in New York City. None of the
Defendants has ever set foot in Pennsylvania in connection with the matter at issue: in this action.
Nor does or can Plaintiff allege that any of the Defendants has any meaningful corsacts with the
Commonwealth of Pennsylvania. Yet, Plaintiff would have all four defendants defend
themselves in a jurisdiction with which they have no connection. For the foregoing reasons and
those explained below, Defendants move this court to dismiss this action for lack of personal
jurisdiction.

STANDARD OF REVIEW

When a defendant raises the defense of lack of personal jurisdiction, the plaintiff
bears the burden of proving facts demonstrating that the Court’s exercise of jurisdiction is
proper. Mellon Bank (East) PSFS, N.A. v. Farino, 960 F.2d 1217, 1223 (3d Cir. 1993). In
discharging this burden, the plaintiff cannot rest on the bare allegations of its complaint. Id. To
the contrary, the plaintiff must produce with reasonable particularity affirmative evidence to

support a conclusion that there are sufficient contacts between the defendant and the forum state.

Id.
ARGUMENT

This Court Cannot Constitutionally Exercise Jurisdiction Over the Wexners
Because They Do Not Have Sufficient Contacts with the State of Penns/lvania.

In Pennsylvania, a district court sitting in diversity may exercise personal
jurisdiction over a non-forum resident where the Pennsylvania long-arm statute all»ws it and
when the exercise of such jurisdiction comports with due process. Fed. R. Civ. P. ‘He); Vetrotex
Certainteed Corp. v. Consolidated Fiber Glass Products Co., 25 F.3d 147, 151 3d Cir. 1996). To
exercise personal jurisdiction in the instant case, this court must determine whether jurisdiction
exists under the Pennsylvania’s long-arm jurisdiction statute and, if it does, whether the exercise
of jurisdiction would violate the due process clause of the Fourteenth Amendment. Vetrotex
Certainteed Corp., 25 F.3d, at 151. Because Pennsylvania’s long-arm statute is coextensive with
the dictates of the Constitution, the court’s analysis turns exclusively on whether the exercise of
personal jurisdiction would conform with the Due Process Clause. Id.; 42 Pa. Cons. Stat. Ann. §
5322(b).

The Due Process clause requires that the Defendants have minimurn contacts in
Pennsylvania and that the exercise of jurisdiction comport with “traditional notions of fair play
and substantial justice.” Vetrotex Certainteed Corp., 25 F.3d, at 150, 151, quoting: International
Shoe Co. v. Washington, 326 U.S. 310, 316 (1945). Minimum contacts must have a basis in
some act by which the Defendants purposefully availed themselves of the privilege of
conducting activities within Pennsylvania, thus invoking the benefits and protection of its laws.
IMO Indus. v. Kiekert AG, 155 F.3d 254 (3d Cir. 1998), citing Burger King Corp, v. Rudzewicz,
471 U.S. 462, 474 (1985); See also, Asahi Metal Indus. Co., Ltd. V. Superior Court of

California, 480 U.S. 102, 109 (1987).
Personal jurisdiction may be based upon either specific or general jurisdiction.
To invoke specific jurisdiction, a plaintiff's cause of action must arise out of defen:lant’s forum-
related activities. To establish specific jurisdiction, a plaintiff must show that a de‘endant has
sufficient minimum contacts with the forum state such that the defendant should ‘yeasonably
anticipate being haled into court in that forum.” Vetrotex Certainteed Corp., 25 F. id, at 551,
quoting World-Wide Volkeswagen Corp. v. Woodson, 444 U.S. 286, 297 (1980). In contrast,
general jurisdiction of the court exists when the defendant has continuous and systematic
contacts with the forum state, regardless of where the particular events giving rise to the
litigation occurred. Vetrotex Certainteed Corp., 25 F.3d, at 151.n.3, citing Heliocopteros
Nacionales de Columbia, S.A. v. Hall, 466 U.S. 408 (1984).

1. There is no basis for specific personal jurisdiction.

This Court must apply the above two-part test to determine if specific personal
jurisdiction may be asserted. IMO Indus., 155 F.3d, at 259. Mr. Shanks first must demonstrate
that the Defendants have sufficient minimum contacts with Pennsylvania. Minim-im contacts
would only exist if the Defendants have purposely directed their activities toward Pennsylvania,
and purposely availed themselves of the privilege of conducting activities within l’ennsylvania,
thus invoking the benefits and protections of its laws. Moreover, the Defendants’ contacts will
not satisfy the minimum contacts requirement if they did not reasonably anticipate being haled
into court in that forum as a result of those contacts. Second, if minimum contact: are
established, this court must determine if exercising jurisdiction over the Wexners would comport

with traditional notions of fair play and substantial justice.
The Defendants here did not reasonably anticipate being haled into a
Pennsylvania court. Throughout the set of events that Plaintiff alleges gave rise to his claims, the
Defendants had no contact with Pennsylvania. The discussions between one Deferidant and
Plaintiff to paint a family portrait took place in the State of New York. The parties never
discussed whose law would apply to the transaction, much less invoke the benefits and privileges
of Pennsylvania laws. Certainly, the mere act of contracting with a Pennsylvania resident does
not constitute availing oneself of the laws of Pennsylvania. Moreover, if a contract were ever
found to have been entered into, a point all Defendants vehemently deny, Pennsylvania case law
provides that the law of the state of contracting would apply. See Pippet et. al. v. “Waterford et.
al., 166 F. Supp. 2d. 233, 239 (E.D. Pa. 2001), citing Parkway Baking Co. v. Freit.ofer Baking
Co., 255 F.2d 641, 646 (3d Cir. 1958). Here, since the parties’ only meetings to discuss the
portrait took place in New York, New York law would govern if any contract wer: found to
exist.

In Poole v. Sasson, this court dismissed a plaintiff's claims for lack. of specific
personal jurisdiction when faced with contacts more substantial than could be presented here.

122 F. Supp. 2d 556, 558 (E.D. Pa. 2000). The defendant in Poole, a New York accountant,

 

contracted with the plaintiffs, Pennsylvania residents, to perform accounting servis. Id. at 557.
The defendant was hired on a yearly basis for general accounting services betwee: 1975 to 1997,
Id. Over the course of the 22 years, the defendant mailed the completed accounting forms to the
plaintiffs in Pennsylvania, and made several phone calls to plaintiffs regarding ta». returns. Id. at
559. The court found that the telephone calls and the letters to the plaintiffs did not suffice to
confer jurisdiction over defendant. Id. In Poole, the plaintiffs had contended that defendant’s

decision merely to contract with a Pennsylvania resident constituted “transacting business” in the
Commonwealth and thus defendant should have expected to be haled into court there. Id. The
court disagreed and found that the mere existence of a contract between the defendint and the
plaintiffs does not by itself support a finding of jurisdiction, even if Pennsylvania law would
have applied to any dispute. Id. Contacts with the Commonwealth of Pennsylvani3. are even
more scarce in our case where not only did the defendants transact no business in Pennsylvania,
but also Pennsylvania law would not apply to the dispute.

The only physical contact that occurred between the parties after the discussion in
New York was when Plaintiff went to Ohio to photograph the Wexners at their hore. By
Plaintiff's account, he took hundreds of photos of the Wexner family in Ohio. It d.d not matter
where Plaintiff brought the photos in order to paint the portrait from them. When dealing with
Plaintiff, Defendants did so exclusively in or from jurisdictions other than Pennsylvania. They
never sought to, nor did they avail themselves in any way of the benefits and prote::tion of
Pennsylvania. Rather, the Defendants lack the sufficient minimum contacts with tue
Commonwealth required for this Court to exercise specific personal jurisdiction.

2. This court also lacks general personal jurisdiction over the
Defendants.

In order for Plaintiff to establish that Pennsylvania has general jurisdiction over
the Defendants, he would have to show that Defendants maintain such systematic znd continuous
contacts with Pennsylvania that jurisdiction is proper even if the particular events iving rise to
the litigation occurred in another forum. On the face of the Complaint and the fac:s presented,
Plaintiff falls far short of meeting his burden because the Defendants maintain no such contacts
in Pennsylvania. The Defendants Wexner are residents of Ohio and have no occasion to conduct

business in Pennsylvania. The Defendants Epstein and Maxwell are residents of txe Virgin
Islands and similarly conduct no business in Pennsylvania. The maintenance of this suit in
Pennsylvania would offend traditional notions of fair play and substantial justice.
CONCLUSION
For all of the foregoing reasons, this Court lacks personal jurisdicticn over the
Defendants, and the Defendants therefore respectfully request that the Court enter an Order

dismissing them from this action pursuant to Rule 12(b)(2).

Respectfully submitted,

SN
Dated: December 30, 2002 Aro thee 2 date
Lawrence J. Fox

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Attorneys for Defendants
CERTIFICATE OF SERVICE

I, Christopher J. Guiton, hereby certify that, on the date set forth below, I caused a

true and correct copy of the foregoing Motion of Defendants for Dismissal Pursuar.t to Fed. R.

Civ. P. 12(b)(2), together with the supporting Memorandum of Law, to be served, via first-class

mail, upon the following counsel of record:

Dated: December 30, 2002

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